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1                                                                         The Honorable Richard A. Jones
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7                             UNITED STATES DISTRICT COURT FOR THE
8                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
9
10
          UNITED STATES OF AMERICA,                            No. CR 18-92RAJ
11
                                           Plaintiff,           GOVERNMENT’S RESPONSE TO
12
                         v.                                     DEFENDANT HANSEN’S MOTION
13                                                              FOR A NEW TRIAL UNDER RULE 33
14        BERNARD ROSS HANSEN and                               ON GROUNDS OF IMPROPER USE
          DIANE ERDMANN,                                        OF LEGAL OPINION EVIDENCE
15                                                              (Dkt. #360)
16                                         Defendants.

17
             The government respectfully requests that the Court deny Defendant Ross
18
     Hansen’s Motion for a New Trial (Dkt. #360). The Court has already ruled on this issue.
19
     Prior to trial, the Court allowed certain testimony from attorneys for the limited purpose
20
     of showing notice to Mr. Hansen. At trial, evidence and testimony was admitted
21
     consistent with the Court’s Order. The jury was instructed on how to consider the
22
     attorney testimony. There was no error, no injustice, and certainly not such a grave
23
     injustice that the Court should grant a new trial.
24
     I.      BACKGROUND
25
     A.      The Court ruled on this issue prior to trial
26
             Mr. Hansen was charged with a years-long scheme to defraud the customers of
27
     Northwest Territorial Mint (NWTM). At trial, Mr. Hansen’s defense to these charges
28
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 1 was that he lacked the intent to defraud NWTM’s bullion and storage customers. Mr.
 2 Hansen claimed that the way he ran the NWTM business was consistent with the
 3 promises made to NWTM customers. At various times in the trial, Mr. Hansen, through
 4 counsel, allowed that Mr. Hansen’s “business model” was not the best way to run a
 5 business, but that Mr. Hansen did not intend to deceive or cheat customers.
 6          However, two former in-house attorneys, Catherine Hopkins and Greg Fullington,
 7 had directly told Mr. Hansen that his “business model” was fraudulent. In 2011, Ms.
 8 Hopkins, told Mr. Hansen that it violated the NWTM bullion storage agreements to use
 9 storage bullion to fulfill other orders and that practice could result in criminal charges.
10 See Dkt. #232-4 (Hopkins Memorandum). In 2015, Mr. Fullington told Mr. Hansen that
11 NWTM was not fulfilling bullion orders as promised, and that could be the basis for
12 criminal charges. See Trial Exhibit 11 (Fullington Memorandum).
13          Prior to trial, Mr. Hansen filed a motion in limine to exclude this testimony. Dkt.
14 #231. Mr. Hansen objected that these witnesses would offer legal opinion testimony by
15 testifying to conversations and statements that they made to Mr. Hansen. The
16 government opposed this motion because the witnesses were fact witnesses, not expert
17 witnesses, and therefore any legal opinions were not offered for their truth. Dkt. #246.
18 The government explained that the evidence would be offered to prove that Mr. Hansen
19 was advised by NWTM’s attorneys that his business practices were illegal and
20 fraudulent, and that Hansen persisted in that conduct nevertheless, and thus as evidence
21 from which the jury can infer that Hansen acted with fraudulent intent.
22          The Court ruled that the witnesses could testify about what they told Mr. Hansen
23 about his business practices. Dkt. #255 at 3. The Court required a limiting instruction to
24 make clear to the jury that any testimony that included a legal opinion is not offered for
25 its truth, but for its effect on the listener, Mr. Hansen. Dkt. #255 at 2-3.
26 //
27 //
28
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 1 B.       Trial evidence and jury instructions were consistent with the Court’s Order
 2          At trial, the former in-house attorneys’ testimony was consistent with the Court’s
 3 ruling. The witnesses testified as to their prior statements to Mr. Hansen about his
 4 business practices and were subject to extensive cross-examination.
 5          At trial, Mr. Hansen elicited similar statements from a different attorney. On the
 6 second day of trial, prior to testimony from either Ms. Hopkins or Mr. Fullington, Mr.
 7 Hansen offered and the Court admitted a 2016 memorandum authored by Dino Vasquez
 8 of the Karr Tuttle law firm that described NWTM’s purported compliance with the
 9 Consent Decree. Trial Exhibit 1078. The memo was written on Karr Tuttle letterhead
10 and stated: “we believe Northwest Territorial Mint’s practices and procedures are
11 substantially compliant with the Consent Decree.” Trial Exhibit 1078 at 2.
12          At the close of evidence, the Court instructed the jurors about how to consider the
13 testimony from these lawyers in Instruction No. 12:
14          You have heard testimony from, and seen documents prepared by, attorneys
            Greg Fullington, Dino Vasquez, and Catherine Hopkins. To the extent Mr.
15          Fullington, Ms. Hopkins, or Mr. Vasquez testified about, or otherwise
16          provided their opinions as to matters of law, such testimony and documents
            are admitted only for the purpose of what information was communicated
17          to Ross Hansen regarding these matters, not for the truth of the legal
18          opinions.
19 Dkt. #344 at 14. The Court offered to read a similar instruction about the testimony of
20 lawyers earlier in the trial. The Court raised the issue of the Graf jury instruction during
21 the testimony of Ms. Hopkins, but defense indicated that it preferred not to instruct the
22 jury at that time.
23 C.    There was more evidence of Mr. Hansen’s intent to defraud than the
24 testimony of the in-house lawyers cited in Defendant’s motion
25          In addition to the testimony of these attorneys, there was substantial other
26 evidence admitted at trial about Defendants’ scheme to defraud. Defendants made
27 numerous false statements to NWTM customers to obtain and retain their money. These
28 false statements included lies about the time to deliver bullion, lies about the reasons for
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 1 delays, and lies about the ability to provide refunds. These false statements are discussed
 2 in the government’s response to Defendants’ Joint Rule 29 Motion. Mr. Hansen’s
 3 management decisions further showed his intent to defraud. Several former NWTM
 4 employees testified that Defendants refused to allow employees to properly track
 5 inventory and expenses; Hansen told one employee that he wanted internal controls that
 6 he could fudge. Mr. Hansen further hid the disastrous financial situation at NWTM by
 7 refusing to file federal income tax returns after tax year 2010.
 8          There was also substantial evidence admitted at trial about the Defendants’ intent
 9 to defraud the storage customers. Multiple former NWTM employees provided detailed
10 testimony about the Defendants’ thefts from storage. Some of these employees told Ms.
11 Erdmann that this practice was robbing Peter to pay Paul. See, e.g., Trial Exhibit 122.
12 Further, multiple witnesses testified that Mr. Hansen refused to allow an inventory of the
13 vaults to determine storage customer holdings.
14 II.      ARGUMENT
15          The Court should deny Mr. Hansen’s motion for a new trial. Federal Rule of
16 Criminal Procedure Rule 33(a) allows a court, on defendant’s motion, to “vacate any
17 judgment and grant a new trial if the interest of justice so requires.” A trial court may
18 grant a motion for new trial when in the court’s judgment “a serious miscarriage of
19 justice may have occurred.” United States v. A. Lanoy Alston, D.M.D., P.C., 974 F.2d
20 1206, 1211-12 (9th Cir. 1992), quoting United States v. Lincoln, 630 F.2d 1313, 1319
21 (8th Cir. 1980).
22          The Court’s admission of certain testimony from NWTM in-house counsel did not
23 create a miscarriage of justice, especially considering the Court’s limiting instruction.
24          This testimony was not a surprise to Defendants – prior to trial, the Court ruled
25 that the testimony of the former in-house counsel was admissible, not for the truth of the
26 statements, but as evidence as to what Mr. Hansen was told by his attorneys about his
27 business practices. Dkt. #255. In so ruling, the Court followed the Ninth Circuit’s
28 decision in United States v. Graf, 610 F.3d 1148 (9th Cir. 2010). At trial in Graf, the
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 1 government admitted testimony from an attorney who testified that he advised another
 2 client that marketing these insurance plans would be criminal because they did not
 3 comply with state or federal law and communicated this opinion to the defendant. Id. at
 4 1164. The government also introduced a letter from the attorney’s law firm stating that
 5 the plans did not comply with federal law. See id. This evidence was admitted with a
 6 limiting instruction. On appeal, the Ninth Circuit held that the attorney’s testimony
 7 informing the defendant that the plans “did not comply with state and federal law and that
 8 marketing them would be a crime was admissible to show that [the defendant] was on
 9 notice that his conduct was illegal,” and that because the evidence was properly offered
10 “not to prove that the actions were illegal, but to show that the defendant had been
11 warned of the illegality.” Id. at 1165 (citation omitted). Like Graf, attorneys told Hansen
12 that his business practices were illegal but he persisted in those practices.
13          At trial, consistent with the Court’s Order, the former in-house counsel testified as
14 to what they told Mr. Hansen, but they did not offer legal opinions. Mr. Hansen also
15 elicited attorney statements about Hansen’s business practices. Specifically, on the
16 second day of trial, Mr. Hansen admitted a lengthy memo prepared by an outside
17 attorney, Mr. Vasquez, and addressed to Mr. Hansen. That memo asserted that NWTM
18 was complying with the Consent Decree. Trial Exhibit 1078.
19          Defendant’s new trial motion does not mention the Court’s jury instruction on this
20 precise issue. See Dkt. #359 at 1-5. The Court instructed the jury at the end of the case
21 as to how to consider legal opinion testimony (the Court offered to instruct the jury
22 during Ms. Hopkins’ testimony, but the defense declined). In the writing jury
23 instructions, the Court instructed that to the extent a lawyer testified as to an opinion, that
24 testimony was not admitted for its truth but for the purpose of what was communicated to
25 Mr. Hansen. Dkt. #344 at 14. Juries are presumed to follow such limiting instructions.
26 See United States v. Mende, 43 F.3d 1298, 1302 (9th Cir. 1995). As the jury was
27 properly instructed on how to consider this evidence, the interests of justice do not
28 require that the Court order a new trial.
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 1          Defendant’s motion essentially asks the Court to reconsider its earlier ruling.
 2 Motions for reconsideration are disfavored. Local Rules, W.D. Wash. CrR 12(b)(13)(A).
 3 A motion for reconsideration is ordinarily denied “in the absence of showing of manifest
 4 error in the prior ruling or a showing of new facts or legal authority which could not have
 5 been brought to [the Court’s] attention earlier…” Id. Here, Mr. Hansen fails to provide
 6 the Court with any new facts or authority. This matter has been decided by the Court.
 7          Finally, the attorney testimony was not the only evidence of Mr. Hansen’s
 8 fraudulent intent, indeed, there was substantial other evidence admitted at trial that
 9 showed Mr. Hansen’s intent to defraud. Defendants consistently lied to NWTM
10 customers to cause them to send in their money, lied to keep the customers’ money, and
11 lied to avoid having to pay refunds. Mr. Hansen used customer money for his own
12 purposes and not as disclosed to customers. Defendants regularly stole from the NWTM
13 storage customers and hid this practice by refusing to allow an inventory. The jury could
14 have found that Mr. Hansen had the intent to defraud NWTM customers based on this
15 other evidence.
16 III.     CONCLUSION
17          Defendant Hansen’s motion for a new trial should be denied.
18          Dated this 17th day of September, 2021.
19                                                    Respectfully submitted,
                                                      TESSA M. GORMAN
20                                                    Acting United States Attorney
21
                                                      s/ Brian Werner
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